

People v Jackson (2024 NY Slip Op 01641)





People v Jackson


2024 NY Slip Op 01641


Decided on March 22, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 22, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., CURRAN, OGDEN, GREENWOOD, AND KEANE, JJ.


181 KA 22-00346

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vOLLIE JACKSON, DEFENDANT-APPELLANT. 






JULIE CIANCA, PUBLIC DEFENDER, ROCHESTER (JONATHAN GARVIN OF COUNSEL), FOR DEFENDANT-APPELLANT.
SANDRA DOORLEY, DISTRICT ATTORNEY, ROCHESTER (SCOTT MYLES OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Supreme Court, Monroe County (Judith A. Sinclair, J.), rendered February 22, 2022. The judgment convicted defendant upon his plea of guilty of criminal possession of a controlled substance in the third degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Memorandum: On appeal from a judgment convicting him upon his plea of guilty of criminal possession of a controlled substance in the third degree (Penal Law § 220.16 [1]), defendant contends that the waiver of the right to appeal is invalid and that his sentence is unduly harsh and severe. Even assuming, arguendo, that defendant's waiver of the right to appeal is invalid and therefore does not preclude our review of his challenge to the severity of the sentence (see People v Albanese, 218 AD3d 1366, 1366-1367 [4th Dept 2023], lv denied 40 NY3d 995 [2023]; see generally People v Thomas, 34 NY3d 545, 565-566 [2019], cert denied — US &amp;mdash, 140 S Ct 2634 [2020]), we conclude that the sentence is not unduly harsh or severe.
Entered: March 22, 2024
Ann Dillon Flynn
Clerk of the Court








